E-FILED Calvert Circuit Court 1/29/2020 11:22 AM System System
E-FILED; Caivert Circuit Court

CIRCUIT COURT FOR CALVERT P2StRG 1479/2020 11:28.AMY Sisbmisaion: 1/29/2020 11:22 AM
Civil: 410-535-1600 x2268

 

YLAND Family/Child Support: 410-535-1600 x2396
175 Main Street Juvenile: 410-535-1600 x2237
Prince Frederick Maryland 20678 Criminal: 410-535-1600 x2270

Assignment: 410-535-1600 x2372
Maryland Relay Service: 711
MD Toll Free: 1-888-535-0113

To: MARK W BAKKER
13893 WILLARD ROAD
UNIT C
CHANTILLY, VA 20151

Case Number: C-04-CV-20-000070
Other Reference Number(s):

CHRISTOPHER SPELTA VS. MARK BAKKER
Issue Date: 1/29/2020

WRIT OF SUMMONS

You are hereby summoned to file a written response by pleading or motion, within 60 days after service of this
summons upon you, in this Court, to the attached complaint filed by:

CHRISTOPHER P SPELTA
11574 Wynadote Lane
Lusby, MD 20657

This summons is effective for service only if served within 60 days after the date it is issued.

Gig 8 bith

Kathy P Smith
Clerk of the Circuit Court

To the person summoned:
Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief

sought against you.
Personal attendance in court on the day named is NOT required.

Instructions for Service:

1. This summons is effective for service only if served within 60 days after the date issued.

2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
If service is not made, please state the reasons.

3. Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.

4. If this notice is served by private process, process server shall file a separate affidavit as required by Maryland
Rule 2-126(a).

CC-CV-032 (Rev. 06/2019) Page 1 of 2 01/29/2020 11:01 AM

 
Christopher Spelta vs. Mark Bakker

Case Number: C-04-CV-20-000070

SHERIFF’S RETURN
Circuit Court for Calvert County

 

 

 

Sheriff fee: By:

Served:

Time: Date:

With the following:
(J Summons (J Counter Complaint
(_] Complaint [_] Domestic Case Information Report
[_] Motions (] Financial Statement

[_] Petition and Show Cause Order

Was unable to serve because:

[_] Moved left no forwarding address
[J Address not in jurisdiction

Sheriff fee: $

 

Instructions to Private Process Server:

—_—

[_] Other

 

Please specify

(1 No such address
(J Other

 

Please specify

 

Serving Sheriff’s Signature & Date

This Summons is effective for service only if served within 60 days after the date issued.

2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.

If service is not made, please state the reasons.

3. Return of served or unserved process shall be made promptly and in accordance with Rule 2-126.
4. Ifthis summons is served by private process, process server shall file a separate affidavit as required by Rule 2-

126(a).

CC-CV-032 (Rev. 06/2019) Page 2 of 2 01/29/2020 11:01 AM

 
 

E-FILED; Calvert Circuit Court
Docket: 1/29/2020 10:20 AM; Submission: 1/29/2020 10:20 AM

IN THE CIRCUIT COURT FOR. CALVERT COUNTY
City of County)

CIVIL - NON-DOMESTIC CASE INFORMATION REPORT
DIRECTIONS

Plaintiff This Information Report must be completed and attached to the complaint filed with the

|Clerk of Court unless your case is exempted from
Appeals pursuant to Rule 2-11 1(a).

 

CASE NAME: Christopher P. Spelta
Plaintiff

PARTY'S NAME: Christopher P. Spelta

ARTY'S E-MAIL:

Defendant. You must file an Information Report

 
 
  
   
  

PARTY'S ADDRESS: 11574 Wynadote Lane, Lusby, Maryland 20657

the requirement by the Chief Judge of the Court of

_C-04-C

vs, Mark W. Bakker
Defendant

PHONE:

  
 

  

2

a

 

 
    
  

If represented by an attorney:
PARTY'S ATTORNEY'S NAME:
PARTY'S ATTORNEY'S ADDRESS; 3475 Leon

JURY DEMAND? ® Yes ONo

Michael A. Klopfer, Esq.

PARTY'S ATTORNEY'S E-MAIL: Mklopfer@farmer-law.com

ELATED CASE PENDING? (TYes @No If yes, Case #(s), if known:
ANTICIPATED LENGTH OF TRIAL?: _____hours

4 caneversacarevercverrsnenmecascorencaroesemae ren]

ardtown Road, Suite 200, Waldorf, Maryland 20601

 

days

 

 

 

ewCase: Original
Existing Case: 0 Post-Judgment

__ PLEADING TYPE
© Administrative Appeal
Amendment

O Appeal

 

 

 

f filing in an existing case, skip Case Category/ Subcategory section - go to Relief section.
IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check ane box.)
RIS Government PUBLIC LAW Ci Constructive Trust
Asbestos Insurance CJ Attorney Grievance O Contempt
Assault an nd B ater ercial 8 Product Liability OBond Forfeiture Remission [J Deposition Notice
C3 Conspiracy PROPERTY C civil Rights CI Dist Ct Mtn Appeal
Conversion © Adverse Possession GCounty/Mncp! Code/Ord Financial
© Defamation Breach of Lease ©) Election Law O Grand Jury/Petit Jury
False Arrest/Imprisonment Detinue CEminent Domain/Condemn. OD Miscellaneous —
fT Fraud Distress/Distrain OEnvironment (J Perpetuate Testimony/Evidence
ClLeadPaint-DOBof OF Forcible Entry/Detainer (© Error Coram Nobis C) Prod. of Documents Req.
Youngest Plt: 6 Foreclosure O) Habeas Corpus Receivership
CLoss of Consortium === Commercial 5 Mandamus Sentence Transfer
(3 Malicious Prosecution 2 Residential Prisoner Rights Special Adm. - Atty
© Malpractice-Medical Currency or Vehicle [Public Info. Act Records [} Subpoena Issue/Quash
Malpractice-Professional © [J Deed of Trust Quarantine/Isolation Cl Trust Established
a Misrepresentation 0 Land Installments © Writ of Certiorari = Trustee Substitution’ Removal
jen itness Appearance-Com
CyNegigence Mortgage BMPLOYMENT PEACE ORDER "°
Nuisance Gright of Redemption [IADA | 0) Peace Order
Premises Liability Statement Condo [Conspiracy EQUITY
Product Liability C) Forfeiture of Property / (EEO/HR CT Decl 4
Specific Performance Personal Item OFLSA 4 laratory Judgment
oxic Tort Fraudulent Conveyance O}FMLA 5 Equitable Relic
qrespass CJ} Landlord-Tenant CI Workers' Compensation Injunctive Relief
rongful Death CO Lis Pendens Ol wrongful Termination CO Mandamus
CONTRACT © Mechanic's Lien OTHER
CJ Asbestos Ownership INDEPENDENT CO Accountin:
(J Breach pyranttionsSale in Lieu PROCEEDINGS Cl Friendly ne
usiness 3 d Commercial uiet Title ©} Assumption of Jurisdiction 0 Grantor in Possession
5 cn d tu gment a Rent Escrow. ad Property Authorized Sale © Maryland Insurance Administration
cont ion © Right of Redemption (J Attorney Appointment © Miscellaneous
GO Debt O Tenant Holding Over CO Body Attachment Issuance © Specific Transaction
OO Fraud Ccommission Issuance Structured Settlements
Page | of 3

CC-DCM-002 (Rev. 04/2017)

 
 

 

| IF NEW OR EXISTING CASE: RELIEF (Check All that Apply) |

 

© Abatement C)Earings Withholding OJudgment-Interest Return of Property

CO Administrative Action Enrollment Cudgment-Summary Sale of Property

© Appointment of Receiver (J Expungement O Liability © Specific Performance

O Arbitration O Findings of Fact OlOral Examination Writ-Error Coram Nobis

Oy Asset Determination £5 Foreclosure 0 Order O Writ-Bxecution ,
ttachment u ent YU Injunction i rit-Garnish Prope:

O Cease & Desist Order O Judgment-Affidavit aownersh Dene O Writ-Garnish Wapes ”

C Condemn Bidg Cl) Judgment-Attorney Fees) Peace Order © Writ-Habeas Corpus

O Contempt C)Judgment-Confessed  OPossession © Writ-Mandamus

O Court Costs/Fees © Judgment-Consent O production of Records Writ-Possession

Damages-Compensatory © Judgment-Declaratory OQuarantine/Isolation Order

& Damages-Punitive CiJudgment-Default OReinstatement of Employment

If you indicated Liability above, mark one of the following. This information is not an admission and
may not be used for any purpose other than Track Assignment.

CLiability is conceded. CiLiability is not conceded, but is not seriously in dispute. Liability is seriously in dispute.

 

MONETARY DAMAGES (Do not include Attorney's Fees, Interest, or Court Costs)

 

© Under $10,000 $10,000 - $30,000 0 $30,000 - $100,000 ® Over $100,000

© Medical Bills $ © Wage Loss $ OProperty Damages $
ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 

 

Is this case appropriate for referral to an ADR process under Md. Rule 17-1012 (Check all that apply)
A. Mediation @Yes ONo C. Settlement Conference Yes ONo
B. Arbitration Yes No D. Neutral Evaluation OyYes No

 

SPECIAL REQUIREMENTS
© If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041

(1 If you require an accommodation for a disability under the Americans with Disabilities Act, check
here and attach form CC-DC-049
ESTIMATED LENGTH OF TRIAL
With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF

 

 

 

TRIAL. (Case will be tracked accordingly)
[7 1/2 day of trial or less 11 3 days of trial time
1 1 day of trial time © More than 3 days of trial time
& 2 days of trial time

 

BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM

For all jurisdictions, if Business and Technology track designation under Md. Rule 16-308 is requested,
attach a duplicate copy of complaint and check one of the tracks below.

 

© Expedited- Trial within 7 months of © Standard - Trial within 18 months of
Defendant's response Defendant's response

EMERGENCY RELIEF REQUESTED

 

 

 

CC-DCM-002 (Rev. 04/2017) Page 2 of 3

 
 

 

COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
MANAGEMENT PROGRAM (ASTAR)

 

FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
Md. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

O Expedited - Trial within 7 months of © Standard - Trial within 18 months of
Defendant's response Defendant's response

 

IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
PLEASE FILL OUT THE APPROPRIATE BOX BELOW.

CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 

 

0 Expedited Trial 60 to 120 days from notice. Non-jury matters.

0 civil-Short Trial 210 days from first answer.

0) Civil-Standard Trial 360 days from first answer.

CJ Custom Scheduling order entered by individual judge.

CJ Asbestos Special scheduling order.

[J Lead Paint Fill in: Birth Date of youngest plaintiff
(1 Tax Sale Foreclosures Special scheduling order.

oO Mortgage Foreclosures No scheduling order.

 

CIRCUIT COURT FOR BALTIMORE COUNTY

 

C}] _— Expedited Attachment Before Judgment, Declaratory Judgment (Simple),
(Trial Date-90 days) | Administrative Appeals, District Court Appeals and Jury Trial Prayers,
Guardianship, Injunction, Mandamus.

o Standard Condemnation, Confessed Judgments (Vacated), Contract, Employment
(Trial Date-240 days) Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
Other Personal Injury, Workers' Compensation Cases.

(J Extended Standard = Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
(Trial Date-345 days) Personal Injury Cases (medical expenses and wage loss of $100,000, expert
and out-of-state witnesses (parties), and trial of five or more days), State
Insolvency.

oO Complex Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
(Trial Date-450 days) Product Liabilities, Other Complex Cases.

 

 

 

 

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3475 Leonardtown Road, Suite 200 Michael A. Klopfer, Esquire
Waldorf MD 20601 ‘wna
City State ~ Zip Code

CC-DCM-002 (Rev. 04/2017) Page 3 of 3

 
 

 

 

E-FILED; Calvert Circuit C

ourt

Docket: 1/29/2020 10:20 AM; Submission: 1/29/2020 10:26 AM

IN THE CIRCUIT COURT OF MARYLAND FOR CALVERT COUNTY
Christopher P. Spelta
11574 Wynadote Lane
Lusby, MD 20657
Plaintiff,
v. CaseNo. —¢-04-Cv-20-000070
Mark W. Bakker

13893 Willard Road, Unit C
Chantilly, VA 20151

Defendant.

COMPLAINT

COMES NOW the Plaintiff, Christopher P. Spelta, by and through his attorneys, Michael
A. Klopfer and the Law Office of James E. Farmer, LLC, and sues the Defendant, Mark W.
Bakker, and for reasons therefore state;

1. Plaintiff, Christopher P. Spelta, is a resident of Calvert County, State of
Maryland.

2. Defendant, Mark W. Bakker, upon information and belief, is a resident of the
State of Virginia.

3. The events as complained of herein took place in Calvert County, Maryland.

COUNT I
(Assault)

4, That on or about May 25, 2019, the Defendant, Mark E. Bakker, did, without just
cause and justification, assault Plaintiff, Christopher P. Spelta.

5. Defendant, Mark E. Bakker, punched Plaintiff, choked him out, and continued
hitting him while he was defenseless and on the ground.

6. As a result of the actions of Defendant, Mark E. Bakker, the Plaintiff suffered

severe injuries to primarily the face and neck including but not limited to broken bones in the

 
 

 

 

face, damaged vision, damages facial structure, eye deviation, bruising, bleeding, and brain
injury.

7. The injuries sustained by Plaintiff will cause him permanent issues for the
remainder of his life.

8. Plaintiff did not consent to the conduct of the Defendant.

9. The Defendant’s conduct was intentional and done with the intent to harm and
maim the Plaintiff.

WHEREFORE, Plaintiff, Christopher P. Spelta, demands judgment against Defendant,
Mark W. Bakker, for a sum in excess of Seventy-Five Thousand Dollars ($75,000.00) in
compensatory damages, with interest and costs.

COUNT Il
(Malicious Prosecution)

10. Plaintiff incorporates by reference Count I, with the same effect as if fully set
forth herein.

11. Asaresult of the severe assault by the Defendant upon the Plaintiff, the
Defendant was charged with various criminal citations.

12. In an attempt to have the Plaintiff not testify against him, and otherwise gain a
strategic advantage in the criminal case, the Defendant filed cross charges against the Plaintiff
claiming Plaintiff assaulted him first.

13. The Defendant did not file charges against the Plaintiff with probable cause.

14. The Defendant filed the charges against the Plaintiff for an unjustified and illegal

purpose.

15. The Defendant’s conduct caused the Plaintiff emotional distress and out of pocket

expenses.

 

 
 

 

 

WHEREFORE, Plaintiff, Christopher P. Spelta, demands judgment against Defendant,
Mark W. Bakker, for a sum in excess of Seventy-Five Thousand Dollars ($75,000.00) in
compensatory damages, with interest and costs.

COUNT Hil
(Punitive Damages)

16. Plaintiff incorporates by reference Counts I and II with the same effect as if fully
set forth herein.

17. Defendant’s conduct was malicious and ill willed.

18. Defendant repeatedly punched and hit Plaintiff as the Plaintiff was defenseless.

19. Defendant caused life long injuries to the Plaintiff.

19. Upon information and belief, Defendant has a history of violent conduct towards
other persons.

WHEREFORE, Plaintiff, Christopher P. Spelta, demands punitive damages against
Defendant, Mark W. Bakker, for a sum in excess of Seventy-Five Thousand Dollars
($75,000.00) in compensatory damages, with interest and costs.

Respectfully submitted,

CHL.

MICHAEL A. KLOPFER, ESQUIRE
CPF#1312180097

Law Offices of James E. Farmer, LLC
3475 Leonardtown Road, Suite 200
Waldorf, Maryland 20601
Mklopfer@farmer-law.com

(301) 843-3890

Attorneys for Plaintiff

 

 
 

 

 

ELECTION FOR JURY DEMAND
Plaintiff, Christopher P. Spelta, by and through his attorneys, MICHAEL A. KLOPFER,

and the Law Office of James E. Farmer, LLC, demands a trial by jury as to all issues.

MICHAEL A. KLOPFER, ESQUIRE

 

 
